                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                    3:07cr209

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                   ORDER
                                         )
MICHELLE WILSON (3)                      )
________________________________________ )

        THIS MATTER is before the Court upon motion of the defendant to reinstate her bond

pending sentencing. (Doc. No. 63).

        The defendant pled guilty to Count Three of the indictment on June 10, 2008, charging a

violation of 18 U.S.C. § 924(c). (Doc. No. 59: Plea Agreement; Doc. No. 62: Acceptance and

Entry of Guilty Plea). Thus, the defendant has been found guilty and is awaiting imposition of

sentence for an offense described in subparagraphs (A) and (B) of subsection (f)(1) of 18 U.S.C.

§ 3142. United States v. Myers, 280 F.3d 407, 416-17 (4th Cir. 2002) (§ 924(c) violation is itself a

crime of violence); United States v. Harrison , 272 F.3d 220, 226 (4th Cir. 2001) (maximum

punishment for § 924(c) violation is life imprisonment). Pursuant to § 3143(a)(2), the defendant

shall be detained unless the Court finds a substantial likelihood that a motion for acquittal or new

trial will be granted; or an attorney for the government has recommended that no sentence of

imprisonment be imposed; and the Court finds by clear and convincing evidence the person is not

likely to flee or pose a danger to any other person or the community. 18 U.S.C. § 3143(a)(2)(A)(i),

(ii) and (B).

        Upon review of the record, even in a light most favorable to the defendant, the Court finds

the defendant has not alleged or established that there is a substantial likelihood that motion for




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acquittal or new trial will be granted or that an attorney for the government has recommended that

no sentence of imprisonment be imposed. Thus, the Court is obligated by the statute to detain the

defendant because the prerequisites for release have not been met. Id.

       The defendant relies on 18 U.S.C. § 3145(c) for the proposition that a district court has

authority to allow a defendant be released based on exceptional circumstances pending

sentencing. (Doc. No. 63: Motion at ¶ 8). The Court has previously ruled that a district court

lacks that authority, and the cases cited by the defendant do not persuade the Court to rule

differently here. See United States v. Khoa Nguyen, Case No. 3:06cr55; aff’d Case No. 06–4627

(4th Cir. July 21, 2006).

       IT IS, THEREFORE, ORDERED that the defendant’s motion to reinstate bond is

DENIED.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, the United States Attorney, the United States Probation Office, and the United States

Marshals Service.

                                                  Signed: June 24, 2008




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